   Case 2:05-cr-00578-JFW Document 2429 Filed 12/20/06 Page 1 of 2 Page ID #:41758

Name and address                                                                                                     V~~                      ~~Q

Janet Sherman
SBN 98560
2115 Main Street
Santa Monica, CA 90405
                                                                                                         f? ~`   F         1       E r'

                                                                                                                               .     _

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  I CASE NUMBER
 UNITED STATES OF AMERICA,
                                                   Plainliff(s)
                                                                                     CR-OS-578(A)- JFW
                             V.


 ERWIN DE LEON,
                                                                             REQUEST FOR APPROVAL OF
                                                                             SUBSTITUTION OF ATTORNEY
                                                 Defendant(s).


                 ERWIN DE LEON                     ❑ Plaintiff Cv~Defendant ❑Other
                        Name ofParty

hereby request the Court approve the substitution of                           JANET SHERMAN
                                                                                         New Attorney
as attorney of record in place and stead of                                   DARLENE KICKER
                                                                                      Present Attorney


   ~     Dated     ~~~ /~/. ~ZC~O~                                X        ~                              ~ ~ G-- -
                                                                           ture ofParty/Auth    zed Re resentative ofParty



         I have given proper notice pursuant to Local Rule 83-2.9 and further consent to the above substitution.

         Dated     ~~~~/C~                                                 FJ~~"~C.~/t~
                                                                      Suture ofPresentAttorney



         I am duly admitted to practice in this District pursuant to Local Rule 83-2.
                                  .e ~~                                    i
         Dated      ~o~ -~~                                                 .G~            ~                         ~~
                                                                      Si   lure ofNew Attorney
                                                                                            98560
                                                                      State Bar Number

         If party requesting to appear Pro Se:

         Dated
                                                                                                                     f               ,,.
                                                                                                                                      ..__4
                                                                      Signature ofRequesting Party                       ..~

         NOTE:COUNSEL ANDPARTIES ARE REMINDED TO SUBNIIT A COMPLETED ORZ
                                                                                                           5 ~~~ac~
                                                                                                        114~RE
         APPROY,4L OFSUBSTITUTIONOFA7'TORNEY(G-01 ORDER)ALONG WITH THIS

                                                                                                         R,; ~~_ G~~~_ l~~
G-01 (03/06)                      REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY                         1


                     R~G~HAL
                                                                                                                           ~l~
Case 2:05-cr-00578-JFW Document 2429 Filed 12/20/06 Page 2 of 2 Page ID #:41759



  1

  2                                     PROOF OF SERVICE

  3
  4
      UNITED STATES DISTRICT COURT
  5   CENTRAL DISTRICT OF CALIFORNIA

  6

  7
           I am employed in the county of Los Angeles, State of California and am employed by a
  8 member of the bar of this Court. I am over the age of eighteen and not a party to the within
    action. My business address is 24955 Pacific Coast Hwy.,Suite A204, Malibu, California
  9 90265.

 10         "On December 20, 2006, I served the foregoing document
      described as: ORDER ON REQUEST FOR SUBSTITUTION OF ATTORNEY on all.
 11   interested parties in this action by hand-delivering a true copy
      thereof to:" by personally delivering a true copy to:
 12

 13         AUSA David Kowal
            Office of U.S. Attorney
 14         1400 U.S. Courthouse
            312 N. Spring St.
 15         Los Angeles, CA 90012

 16
           Executed on December 20,2006, at Malibu, CA. I declare under penalty of perjury
 17 under the laws of the State of California and the United States that the above is true and
    correct.
 18
                                                                        `~,r"'-
 19
                                                      DARLENE M.KICKER
 20

 21

 22

 23

 24

 25
 26

 27

 28
